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 Fill in this information to identify the case:

 Debtor name            DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)               20-10250-btb
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            32,278.84

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $            32,278.84


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      12,928,024.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        12,928,024.12




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         20-10250-btb
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo Bank, N.A.                                   Business Checking              6553                                    $2,896.57


                     CitiBank, N.A. (balance as of Petition
                     Date of 11/16/20 per bank statement
                     was -$97.24). Note: Check stock
                     appears to indicate that this is a joint
            3.2.     account with Douglas Wiederhold.                         Business Checking              5455                                           $0.00




            3.3.     Nevada State Bank                                        Business Checking              1361                                        $285.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $3,181.57
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 1
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 Debtor            DOMI PUBLICATIONS, LLC                                                     Case number (If known) 20-10250-btb
                   Name


                     Potential chargeback retention being held by CC Bill payment processor (account No.
            7.1.     XX7799)                                                                                                            $15,792.27


                     Potential chargback retention being held by Epoch.com LLC payment processor.
                     Debtor made inquiry but company will not provide and said it will deal exclusively with
            7.2.     the Chapter 7 trustee with regard to this.                                                                           Unknown



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                        $15,792.27
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.

 Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No.   Go to Part 7.
       Yes Fill in the information below.

 Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.        Office furniture
            See attached schedule                                                      Unknown       Liquidation                          $1,880.00



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         DOMI PUBLICATIONS, LLC                                                        Case number (If known) 20-10250-btb
                Name



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                             $1,880.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest       for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            See attached schedule                                                      Unknown        Liquidation                       $11,425.00



 51.        Total of Part 8.                                                                                                        $11,425.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         DOMI PUBLICATIONS, LLC                                                        Case number (If known) 20-10250-btb
                Name


     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            MOMPOV.COM, Service Mark, Serial No.
            86215348 filed March 8, 2014, Registration No.
            4577877                                                                    Unknown                                            Unknown



 61.        Internet domain names and websites
            www.MomPOV.com website and domain                                          Unknown                                            Unknown


            www.domipublications.com website and
            domain                                                                     Unknown                                            Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Unregistered copyrights for an unknown
            number of motion picture works, inluding both
            edited and raw/unedited. Debtor does not
            have complete licensing from actors because
            some were included with Michael Pratt whose
            current location is unknown.                                               Unknown                                            Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor          DOMI PUBLICATIONS, LLC                                                                              Case number (If known) 20-10250-btb
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,181.57

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $15,792.27

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,880.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $11,425.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $32,278.84          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $32,278.84




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         20-10250-btb
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)          20-10250-btb
                                                                                                                                                     Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $696,628.70
           Jane Doe No. 1                                                      Contingent
           c/o John J. O'Brien, Esq.                                           Unliquidated
           O'Brien Law Firm, APLC
           750 B Street, Suite 1610                                            Disputed
           San Diego, CA 92101-8131                                                           Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
           Date(s) debt was incurred                                          misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
           Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $446,628.70
           Jane Doe No. 10                                                     Contingent
           c/o John J. O'Brien, Esq.                                           Unliquidated
           O'Brien Law Firm, APLC
           750 B Street, Suite 1610                                            Disputed
           San Diego, CA 92101-8131                                                           Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
           Date(s) debt was incurred                                          misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
           Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $696,628.70
           Jane Doe No. 11                                                     Contingent
           c/o John J. O'Brien, Esq.                                           Unliquidated
           O'Brien Law Firm, APLC
           750 B Street, Suite 1610                                            Disputed
           San Diego, CA 92101-8131                                                           Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
           Date(s) debt was incurred                                          misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
           Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 13
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 Debtor       DOMI PUBLICATIONS, LLC                                                                   Case number (if known)            20-10250-btb
              Name

 3.4      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $696,628.70
          Jane Doe No. 12                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 13                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $696,628.70
          Jane Doe No. 14                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $696,628.70
          Jane Doe No. 15                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 16                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 13
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 Debtor       DOMI PUBLICATIONS, LLC                                                                   Case number (if known)            20-10250-btb
              Name

 3.9      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $696,628.70
          Jane Doe No. 17                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $446,628.70
          Jane Doe No. 18                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 19                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 2                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 20                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes




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 Debtor       DOMI PUBLICATIONS, LLC                                                                   Case number (if known)            20-10250-btb
              Name

 3.14     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $446,628.70
          Jane Doe No. 21                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $446,628.70
          Jane Doe No. 22                                                      Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jane Doe No. 23                                                      Contingent
          c/o D. Loren Washburn, Esq.                                          Unliquidated
          Smith Washburn, LLP
          500 South Grand Ave., Suite 1450                                     Disputed
          Los Angeles, CA 90071                                                               Plaintiff in Pending Litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 3                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 4                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes




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 Debtor       DOMI PUBLICATIONS, LLC                                                                   Case number (if known)            20-10250-btb
              Name

 3.19     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $446,628.70
          Jane Doe No. 5                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $696,628.70
          Jane Doe No. 6                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $446,628.70
          Jane Doe No. 7                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $446,628.70
          Jane Doe No. 8                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $596,628.70
          Jane Doe No. 9                                                       Contingent
          c/o John J. O'Brien, Esq.                                            Unliquidated
          O'Brien Law Firm, APLC
          750 B Street, Suite 1610                                             Disputed
          San Diego, CA 92101-8131                                                            Plaintiff in pending litigation - claims for
                                                                              Basis for the claim:
          Date(s) debt was incurred                                           misappropriation of name and likeness, intentional infliction of
                                                                              emotion distress, breach of cnotract, unlawful and fraudulent
          Last 4 digits of account number
                                                                              business practices, fraudulent transfer, declaratory relief, et al.
                                                                              Is the claim subject to offset?    No  Yes




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 Debtor       DOMI PUBLICATIONS, LLC                                                                   Case number (if known)            20-10250-btb
              Name

 3.24      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,940.00
           Law Office of Clyde DeWitt                                          Contingent
           c/o Clyde DeWitt, Esq.                                              Unliquidated
           PO Box 26185                                                        Disputed
           Las Vegas, NV 89126
                                                                              Basis for the claim:    Attorney's fees and costs
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $117,832.33
           Law Office of George Rikos                                          Contingent
           c/o George Rikos, Esq.                                              Unliquidated
           225 Broadway Ste 2100                                               Disputed
           San Diego, CA 92101
                                                                              Basis for the claim:    Attorney's fees and costs
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           Ryan Somavia                                                        Contingent
           c/o Nevada DETR                                                     Unliquidated
           500 E. Third St.                                                    Disputed
           Carson City, NV 89713-0035
                                                                              Basis for the claim:    Unemployment claim
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
           Tamela Seehase                                                      Contingent
           c/o Nevada DETR                                                     Unliquidated
           500 E. Third St.                                                    Disputed
           Carson City, NV 89713-0035
                                                                              Basis for the claim:    Unemployment claim
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,420.39
           Walters Law Group                                                   Contingent
           Attn: Lawrence G. Walters, Esq.                                     Unliquidated
           195 W. Pine Avenue                                                  Disputed
           Longwood, FL 32750-4104
                                                                              Basis for the claim:    Attorney's fees and costs
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                    On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                       related creditor (if any) listed?            account number, if
                                                                                                                                                    any
 4.1       Jane Doe No. 1
           c/o Holm Law Group, PC                                                                      Line     3.1
           Brian N. Holm, Esq.
           12636 High Bluff Drive, Ste. 400                                                                  Not listed. Explain

           San Diego, CA 92130

 4.2       Jane Doe No. 1
           c/o Robert Hamparayan, APC                                                                  Line     3.1
           Attn: Robert Hamparyan, Esq.
           275 Market Street                                                                                 Not listed. Explain

           San Diego, CA 92101

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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.3      Jane Doe No. 1
          c/o Michael T. O'Halloran                                                              Line   3.1
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.4      Jane Doe No. 10
          c/o Holm Law Group, PC                                                                 Line   3.2
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.5      Jane Doe No. 10
          c/o Robert Hamparayan, APC                                                             Line   3.2
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.6      Jane Doe No. 10
          c/o Michael T. O'Halloran                                                              Line   3.2
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.7      Jane Doe No. 11
          c/o Holm Law Group, PC                                                                 Line   3.3
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.8      Jane Doe No. 11
          c/o Robert Hamparayan, APC                                                             Line   3.3
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.9      Jane Doe No. 11
          c/o Michael T. O'Halloran                                                              Line   3.3
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.10     Jane Doe No. 12
          c/o Holm Law Group, PC                                                                 Line   3.4
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.11     Jane Doe No. 12
          c/o Robert Hamparayan, APC                                                             Line   3.4
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.12     Jane Doe No. 12
          c/o Michael T. O'Halloran                                                              Line   3.4
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.13     Jane Doe No. 13
          c/o Holm Law Group, PC                                                                 Line   3.5
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130


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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.14     Jane Doe No. 13
          c/o Robert Hamparayan, APC                                                             Line   3.5
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.15     Jane Doe No. 13
          c/o Michael T. O'Halloran                                                              Line   3.5
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.16     Jane Doe No. 14
          c/o Holm Law Group, PC                                                                 Line   3.6
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.17     Jane Doe No. 14
          c/o Robert Hamparayan, APC                                                             Line   3.6
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.18     Jane Doe No. 14
          c/o Michael T. O'Halloran                                                              Line   3.6
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.19     Jane Doe No. 15
          c/o Holm Law Group, PC                                                                 Line   3.7
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.20     Jane Doe No. 15
          c/o Robert Hamparayan, APC                                                             Line   3.7
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.21     Jane Doe No. 15
          c/o Michael T. O'Halloran                                                              Line   3.7
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.22     Jane Doe No. 16
          c/o Holm Law Group, PC                                                                 Line   3.8
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.23     Jane Doe No. 16
          c/o Robert Hamparayan, APC                                                             Line   3.8
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.24     Jane Doe No. 16
          c/o Michael T. O'Halloran                                                              Line   3.8
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain



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 Debtor       DOMI PUBLICATIONS, LLC                                                              Case number (if known)        20-10250-btb
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.25     Jane Doe No. 17
          c/o Holm Law Group, PC                                                                 Line   3.9
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.26     Jane Doe No. 17
          c/o Robert Hamparayan, APC                                                             Line   3.9
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.27     Jane Doe No. 17
          c/o Michael T. O'Halloran                                                              Line   3.9
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.28     Jane Doe No. 18
          c/o Holm Law Group, PC                                                                 Line   3.10
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.29     Jane Doe No. 18
          c/o Robert Hamparayan, APC                                                             Line   3.10
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.30     Jane Doe No. 18
          c/o Michael T. O'Halloran                                                              Line   3.10
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.31     Jane Doe No. 19
          c/o Holm Law Group, PC                                                                 Line   3.11
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.32     Jane Doe No. 19
          c/o Robert Hamparayan, APC                                                             Line   3.11
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.33     Jane Doe No. 19
          c/o Michael T. O'Halloran                                                              Line   3.11
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.34     Jane Doe No. 2
          c/o Holm Law Group, PC                                                                 Line   3.12
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.35     Jane Doe No. 2
          c/o Robert Hamparayan, APC                                                             Line   3.12
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

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          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.36     Jane Doe No. 2
          c/o Michael T. O'Halloran                                                              Line   3.12
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.37     Jane Doe No. 20
          c/o Holm Law Group, PC                                                                 Line   3.13
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.38     Jane Doe No. 20
          c/o Robert Hamparayan, APC                                                             Line   3.13
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.39     Jane Doe No. 20
          c/o Michael T. O'Halloran                                                              Line   3.13
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.40     Jane Doe No. 21
          c/o Holm Law Group, PC                                                                 Line   3.14
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.41     Jane Doe No. 21
          c/o Robert Hamparayan, APC                                                             Line   3.14
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.42     Jane Doe No. 21
          c/o Michael T. O'Halloran                                                              Line   3.14
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.43     Jane Doe No. 22
          c/o Holm Law Group, PC                                                                 Line   3.15
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.44     Jane Doe No. 22
          c/o Robert Hamparayan, APC                                                             Line   3.15
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.45     Jane Doe No. 22
          c/o Michael T. O'Halloran                                                              Line   3.15
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.46     Jane Doe No. 3
          c/o Holm Law Group, PC                                                                 Line   3.17
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

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 Debtor       DOMI PUBLICATIONS, LLC                                                              Case number (if known)        20-10250-btb
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.47     Jane Doe No. 3
          c/o Robert Hamparayan, APC                                                             Line   3.17
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.48     Jane Doe No. 3
          c/o Michael T. O'Halloran                                                              Line   3.17
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.49     Jane Doe No. 4
          c/o Holm Law Group, PC                                                                 Line   3.18
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.50     Jane Doe No. 4
          c/o Robert Hamparayan, APC                                                             Line   3.18
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.51     Jane Doe No. 4
          c/o Michael T. O'Halloran                                                              Line   3.18
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.52     Jane Doe No. 5
          c/o Holm Law Group, PC                                                                 Line   3.19
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.53     Jane Doe No. 5
          c/o Robert Hamparayan, APC                                                             Line   3.19
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.54     Jane Doe No. 5
          c/o Michael T. O'Halloran                                                              Line   3.19
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain


 4.55     Jane Doe No. 6
          c/o Holm Law Group, PC                                                                 Line   3.20
          Brian N. Holm, Esq.
          12636 High Bluff Drive, Ste. 400                                                             Not listed. Explain

          San Diego, CA 92130

 4.56     Jane Doe No. 6
          c/o Robert Hamparayan, APC                                                             Line   3.20
          Attn: Robert Hamparyan, Esq.
          275 Market Street                                                                            Not listed. Explain

          San Diego, CA 92101

 4.57     Jane Doe No. 6
          c/o Michael T. O'Halloran                                                              Line   3.20
          110 West A Street, Suite 1100
          San Diego, CA 92101                                                                          Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 11 of 13
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 Debtor       DOMI PUBLICATIONS, LLC                                                              Case number (if known)        20-10250-btb
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.58      Jane Doe No. 7
           c/o Holm Law Group, PC                                                                Line   3.21
           Brian N. Holm, Esq.
           12636 High Bluff Drive, Ste. 400                                                            Not listed. Explain

           San Diego, CA 92130

 4.59      Jane Doe No. 7
           c/o Robert Hamparayan, APC                                                            Line   3.21
           Attn: Robert Hamparyan, Esq.
           275 Market Street                                                                           Not listed. Explain

           San Diego, CA 92101

 4.60      Jane Doe No. 7
           c/o Michael T. O'Halloran                                                             Line   3.21
           110 West A Street, Suite 1100
           San Diego, CA 92101                                                                         Not listed. Explain


 4.61      Jane Doe No. 8
           c/o Holm Law Group, PC                                                                Line   3.22
           Brian N. Holm, Esq.
           12636 High Bluff Drive, Ste. 400                                                            Not listed. Explain

           San Diego, CA 92130

 4.62      Jane Doe No. 8
           c/o Robert Hamparayan, APC                                                            Line   3.22
           Attn: Robert Hamparyan, Esq.
           275 Market Street                                                                           Not listed. Explain

           San Diego, CA 92101

 4.63      Jane Doe No. 8
           c/o Michael T. O'Halloran                                                             Line   3.22
           110 West A Street, Suite 1100
           San Diego, CA 92101                                                                         Not listed. Explain


 4.64      Jane Doe No. 9
           c/o Holm Law Group, PC                                                                Line   3.23
           Brian N. Holm, Esq.
           12636 High Bluff Drive, Ste. 400                                                            Not listed. Explain

           San Diego, CA 92130

 4.65      Jane Doe No. 9
           c/o Robert Hamparayan, APC                                                            Line   3.23
           Attn: Robert Hamparyan, Esq.
           275 Market Street                                                                           Not listed. Explain

           San Diego, CA 92101

 4.66      Jane Doe No. 9
           c/o Michael T. O'Halloran                                                             Line   3.23
           110 West A Street, Suite 1100
           San Diego, CA 92101                                                                         Not listed. Explain


 4.67      Ryan Somavia
           10620 So. Highlands Pkwy., #110-278                                                   Line   3.26
           Las Vegas, NV 89141-1000
                                                                                                       Not listed. Explain

 4.68      Tamela R. Seehase
           8301 W. Charleston Blvd.                                                              Line   3.27
           Las Vegas, NV 89117
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 12 of 13
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 Debtor       DOMI PUBLICATIONS, LLC                                                              Case number (if known)       20-10250-btb
              Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                         0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                12,928,024.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                   12,928,024.12




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 13 of 13
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 Fill in this information to identify the case:

 Debtor name         DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         20-10250-btb
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Credit card processor
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                                            CCBill, LLC
                                                                                      Attn: Bankruptcy Dept/Managing Agent
              List the contract number of any                                         2353 West University Drive
                    government contract                                               Tempe, AZ 85281-7223


 2.2.         State what the contract or                  Credit card processor
              lease is for and the nature of
              the debtor's interest
                                                                                      EPOCH.COM, LLC
                  State the term remaining                                            dba Epoch Payments Solutions
                                                                                      Attn: Bankruptcy Dept/Managing Agent
              List the contract number of any                                         3110 Main Street, Ste. 220
                    government contract                                               Santa Monica, CA 90405


 2.3.         State what the contract or                  Website Hosting
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                None - Cancelled Credit
                                                          Card for Payment
                                                          Post-Petition               Webair Internet Development, Inc.
              List the contract number of any                                         501 Franklin Ave., Suite 200
                    government contract                                               Garden City, NY 11530




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         20-10250-btb
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                         Check all schedules
                                                                                                                                that apply:

    2.1      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 23              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F        3.16
                                               San Diego, CA 92101
                                                                                                                                G
                                               Co-Defendant




    2.2      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 1               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F        3.1
                                               San Diego, CA 92101
                                                                                                                                G




    2.3      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 10              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F        3.2
                                               San Diego, CA 92101
                                                                                                                                G




    2.4      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 11              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F        3.3
                                               San Diego, CA 92101
                                                                                                                                G




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 12              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.4
                                               San Diego, CA 92101
                                                                                                                                G




    2.6      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 13              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.5
                                               San Diego, CA 92101
                                                                                                                                G




    2.7      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 14              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.6
                                               San Diego, CA 92101
                                                                                                                                G




    2.8      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 15              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.7
                                               San Diego, CA 92101
                                                                                                                                G




    2.9      Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 16              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.8
                                               San Diego, CA 92101
                                                                                                                                G




    2.10     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 17              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.9
                                               San Diego, CA 92101
                                                                                                                                G




    2.11     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 18              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.10
                                               San Diego, CA 92101
                                                                                                                                G




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 19              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.11
                                               San Diego, CA 92101
                                                                                                                                G




    2.13     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 2               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.12
                                               San Diego, CA 92101
                                                                                                                                G




    2.14     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 20              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.13
                                               San Diego, CA 92101
                                                                                                                                G




    2.15     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 21              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.14
                                               San Diego, CA 92101
                                                                                                                                G




    2.16     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 22              D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.15
                                               San Diego, CA 92101
                                                                                                                                G




    2.17     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 3               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.17
                                               San Diego, CA 92101
                                                                                                                                G




    2.18     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 4               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.18
                                               San Diego, CA 92101
                                                                                                                                G




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.19     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 5               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.19
                                               San Diego, CA 92101
                                                                                                                                G




    2.20     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 6               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.20
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 7               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.21
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 8               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.22
                                               San Diego, CA 92101
                                                                                                                                G




    2.23     Andre Garcia                      c/o Panakos Law, APC                                Jane Doe No. 9               D
                                               Attn: Aarson Sadock, Esq.                                                         E/F       3.23
                                               San Diego, CA 92101
                                                                                                                                G




    2.24     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 23              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.25     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 1               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


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            Column 1: Codebtor                                                          Column 2: Creditor



    2.26     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 10              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.27     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 11              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.28     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 12              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.29     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 13              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.30     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 14              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.31     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 15              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.32     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 16              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.33     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 17              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.34     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 18              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.35     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 19              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.36     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 2               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.37     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 20              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.38     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 21              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.39     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 22              D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.40     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 3               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.41     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 4               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.42     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 5               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.43     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 6               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.44     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 7               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.45     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 8               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.46     BLL Media                         c/o Panakos Law, APC                                Jane Doe No. 9               D
             Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.47     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 23              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.48     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 1               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.49     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 10              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.50     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 11              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.51     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 12              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.52     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 13              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.53     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 14              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.54     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 15              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.55     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 15              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.56     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 16              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.57     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 17              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.58     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 18              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.59     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 19              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.60     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 19              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.61     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 2               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.62     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 20              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.63     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 21              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.64     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 22              D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.65     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 3               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.66     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 4               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.67     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 5               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.68     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 6               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.69     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 7               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.70     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 8               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.71     BLL Media, Inc.                   c/o Panakos Law, APC                                Jane Doe No. 9               D
                                               Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.72     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 23              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.73     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 1               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.74     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 10              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.75     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 11              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.76     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 12              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.77     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 13              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.78     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 14              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.79     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 15              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.80     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 16              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.81     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 17              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.82     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 18              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.83     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 19              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.84     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 2               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.85     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 20              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.86     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 21              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.87     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 22              D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.88     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 3               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.89     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 5               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.90     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 6               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.91     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 7               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.92     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 8               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.93     Bubblegum                         c/o Panakos Law, APC                                Jane Doe No. 9               D
             Films, Inc.                       Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.94     Clockwork                         c/o Sergio Becerrill, Registered Agent              Jane Doe No. 23              D
             Productions, Inc.                 75 Williar Ave.                                                                   E/F       3.16
                                               San Francisco, CA 94112
                                                                                                                                G
                                               Co-Defendant




    2.95     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 23              D
             Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.96     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 1               D
             Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.97     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 10              D
             Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.98     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 11              D
             Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.99     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 12              D
             Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 13              D
    0        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 14              D
    1        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 15              D
    2        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 16              D
    3        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 17              D
    4        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 18              D
    5        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 19              D
    6        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 2               D
    7        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 20              D
    8        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.10     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 21              D
    9        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 22              D
    0        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 3               D
    1        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 4               D
    2        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 5               D
    3        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 6               D
    4        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 7               D
    5        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


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    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 8               D
    6        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     EG Publications,                  c/o Panakos Law, APC                                Jane Doe No. 9               D
    7        Inc.                              Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.11     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 23              D
    8        COM                               555 West Beech St., Suite 500                                                     E/F       3.16
                                               San Diego, CA 92101
                                                                                                                                G
                                               Co-Defendant




    2.11     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 10              D
    9        COM                               555 West Beech St., Suite 500                                                     E/F       3.2
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 1               D
    0        COM                               555 West Beech St., Suite 500                                                     E/F       3.1
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 11              D
    1        COM                               555 West Beech St., Suite 500                                                     E/F       3.3
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 12              D
    2        COM                               555 West Beech St., Suite 500                                                     E/F       3.4
                                               San Diego, CA 92101
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    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 13              D
    3        COM                               555 West Beech St., Suite 500                                                     E/F       3.5
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 14              D
    4        COM                               555 West Beech St., Suite 500                                                     E/F       3.6
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 15              D
    5        COM                               555 West Beech St., Suite 500                                                     E/F       3.7
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 16              D
    6        COM                               555 West Beech St., Suite 500                                                     E/F       3.8
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 17              D
    7        COM                               555 West Beech St., Suite 500                                                     E/F       3.9
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 18              D
    8        COM                               555 West Beech St., Suite 500                                                     E/F       3.10
                                               San Diego, CA 92101
                                                                                                                                G




    2.12     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 19              D
    9        COM                               555 West Beech St., Suite 500                                                     E/F       3.11
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 2               D
    0        COM                               555 West Beech St., Suite 500                                                     E/F       3.12
                                               San Diego, CA 92101
                                                                                                                                G




    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 20              D
    1        COM                               555 West Beech St., Suite 500                                                     E/F       3.13
                                               San Diego, CA 92101
                                                                                                                                G




    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 21              D
    2        COM                               555 West Beech St., Suite 500                                                     E/F       3.14
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 22              D
    3        COM                               555 West Beech St., Suite 500                                                     E/F       3.15
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 3               D
    4        COM                               555 West Beech St., Suite 500                                                     E/F       3.17
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 4               D
    5        COM                               555 West Beech St., Suite 500                                                     E/F       3.18
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 5               D
    6        COM                               555 West Beech St., Suite 500                                                     E/F       3.19
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 6               D
    7        COM                               555 West Beech St., Suite 500                                                     E/F       3.20
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 7               D
    8        COM                               555 West Beech St., Suite 500                                                     E/F       3.21
                                               San Diego, CA 92101
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    2.13     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 8               D
    9        COM                               555 West Beech St., Suite 500                                                     E/F       3.22
                                               San Diego, CA 92101
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    2.14     GIRLSDOPORN.                      c/o Panakos Law, APC                                Jane Doe No. 9               D
    0        COM                               555 West Beech St., Suite 500                                                     E/F       3.23
                                               San Diego, CA 92101
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    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 23              D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 1               D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 10              D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 11              D
    4                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 12              D
    5                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 13              D
    6                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 14              D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 15              D
    8                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.14     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 16              D
    9                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 17              D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 18              D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 19              D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 2               D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 20              D
    4                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 21              D
    5                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 22              D
    6                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 3               D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 4               D
    8                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 West Beech St., Suite 500
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                                               San Diego, CA 92101




    2.15     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 5               D
    9                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 6               D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 7               D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.16     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 8               D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Matthew Wolfe                     c/o Panakos Law, APC                                Jane Doe No. 9               D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 West Beech St., Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 23              D
    4        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.16     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 1               D
    5        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 10              D
    6        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 11              D
    7        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.16     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 12              D
    8        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.16     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 13              D
    9        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 14              D
    0        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 15              D
    1        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 16              D
    2        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 17              D
    3        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 East Beech Street, Suite 500
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                                               San Diego, CA 92101




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    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 18              D
    4        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 19              D
    5        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 2               D
    6        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 20              D
    7        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 21              D
    8        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.17     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 22              D
    9        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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 Debtor       DOMI PUBLICATIONS, LLC                                                          Case number (if known)   20-10250-btb


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    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 3               D
    0        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 4               D
    1        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 5               D
    2        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 6               D
    3        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 7               D
    4        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 8               D
    5        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.18     Merro Media                       c/o Panakos Law, APC                                Jane Doe No. 9               D
    6        Holdings, LLC                     Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 23              D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.18     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 1               D
    8                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.18     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 10              D
    9                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 11              D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 12              D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 13              D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 14              D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 16              D
    4                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 17              D
    5                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 18              D
    6                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 2               D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 20              D
    8                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.19     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 21              D
    9                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 22              D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 3               D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 4               D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 5               D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 6               D
    4                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 7               D
    5                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 8               D
    6                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Merro Media, Inc.                 c/o Panakos Law, APC                                Jane Doe No. 9               D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 East Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.20     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 23              D
    8                                          555 West Beech St.                                                                E/F       3.16
                                               San Diego, CA 92101
                                                                                                                                G
                                               Co-Defendant




    2.20     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 1               D
    9                                          555 West Beech St.                                                                E/F       3.1
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 10              D
    0                                          555 West Beech St.                                                                E/F       3.2
                                               San Diego, CA 92101
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    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 11              D
    1                                          555 West Beech St.                                                                E/F       3.3
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 12              D
    2                                          555 West Beech St.                                                                E/F       3.4
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 13              D
    3                                          555 West Beech St.                                                                E/F       3.5
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 14              D
    4                                          555 West Beech St.                                                                E/F       3.6
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 15              D
    5                                          555 West Beech St.                                                                E/F       3.7
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 16              D
    6                                          555 West Beech St.                                                                E/F       3.8
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 17              D
    7                                          555 West Beech St.                                                                E/F       3.9
                                               San Diego, CA 92101
                                                                                                                                G




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    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 18              D
    8                                          555 West Beech St.                                                                E/F       3.10
                                               San Diego, CA 92101
                                                                                                                                G




    2.21     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 19              D
    9                                          555 West Beech St.                                                                E/F       3.11
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 2               D
    0                                          555 West Beech St.                                                                E/F       3.12
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 20              D
    1                                          555 West Beech St.                                                                E/F       3.13
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 21              D
    2                                          555 West Beech St.                                                                E/F       3.14
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 22              D
    3                                          555 West Beech St.                                                                E/F       3.15
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 3               D
    4                                          555 West Beech St.                                                                E/F       3.17
                                               San Diego, CA 92101
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    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 4               D
    5                                          555 West Beech St.                                                                E/F       3.18
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 5               D
    6                                          555 West Beech St.                                                                E/F       3.19
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 6               D
    7                                          555 West Beech St.                                                                E/F       3.20
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 7               D
    8                                          555 West Beech St.                                                                E/F       3.21
                                               San Diego, CA 92101
                                                                                                                                G




    2.22     Michael Pratt                     c/o Panakos Law, APC                                Jane Doe No. 9               D
    9                                          555 West Beech St.                                                                E/F       3.23
                                               San Diego, CA 92101
                                                                                                                                G




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 23              D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.16
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101
                                               Co-Defendant




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 1               D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.1
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 10              D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.2
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 11              D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.3
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 12              D
    4                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.4
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 13              D
    5                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.5
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 14              D
    6                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.6
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 15              D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.7
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 16              D
    8                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.8
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.23     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 17              D
    9                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.9
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 18              D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.10
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 19              D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.11
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 2               D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.12
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 20              D
    3                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.13
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 21              D
    4                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.14
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 22              D
    5                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.15
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 3               D
    6                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.17
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 4               D
    7                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.18
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 5               D
    8                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.19
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.24     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 6               D
    9                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.20
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.25     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 7               D
    0                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.21
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.25     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 8               D
    1                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.22
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.25     MIM Media, LLC                    c/o Panakos Law, APC                                Jane Doe No. 9               D
    2                                          Attn: Aaron Sadock, Esq.                                                          E/F       3.23
                                               555 West Beech Street, Suite 500
                                                                                                                                G
                                               San Diego, CA 92101




    2.25     Oh Well Media,                                                                        Jane Doe No. 1               D
    3        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.1
                                                                                                                                G



    2.25     Oh Well Media,                                                                        Jane Doe No. 10              D
    4        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.2
                                                                                                                                G



    2.25     Oh Well Media,                                                                        Jane Doe No. 11              D
    5        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.3
                                                                                                                                G



    2.25     Oh Well Media,                                                                        Jane Doe No. 12              D
    6        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.4
                                                                                                                                G




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    2.25     Oh Well Media,                                                                        Jane Doe No. 13              D
    7        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.5
                                                                                                                                G



    2.25     Oh Well Media,                                                                        Jane Doe No. 14              D
    8        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.6
                                                                                                                                G



    2.25     Oh Well Media,                                                                        Jane Doe No. 15              D
    9        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.7
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 16              D
    0        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.8
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 17              D
    1        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.9
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 18              D
    2        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.10
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 19              D
    3        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.11
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 2               D
    4        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.12
                                                                                                                                G




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    2.26     Oh Well Media,                                                                        Jane Doe No. 20              D
    5        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.13
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 21              D
    6        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.14
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 22              D
    7        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.15
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 23              D
    8        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.16
                                                                                                                                G



    2.26     Oh Well Media,                                                                        Jane Doe No. 3               D
    9        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.17
                                                                                                                                G



    2.27     Oh Well Media,                                                                        Jane Doe No. 4               D
    0        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.18
                                                                                                                                G



    2.27     Oh Well Media,                                                                        Jane Doe No. 5               D
    1        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.19
                                                                                                                                G



    2.27     Oh Well Media,                                                                        Jane Doe No. 6               D
    2        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.20
                                                                                                                                G




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    2.27     Oh Well Media,                                                                        Jane Doe No. 7               D
    3        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.21
                                                                                                                                G



    2.27     Oh Well Media,                                                                        Jane Doe No. 8               D
    4        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.22
                                                                                                                                G



    2.27     Oh Well Media,                                                                        Jane Doe No. 9               D
    5        LLC                               Co-Defendant (Defaulted)                                                          E/F       3.23
                                                                                                                                G



    2.27     Sidle Media                                                                           Jane Doe No. 1               D
    6        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.1
                                                                                                                                G



    2.27     Sidle Media                                                                           Jane Doe No. 10              D
    7        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.2
                                                                                                                                G



    2.27     Sidle Media                                                                           Jane Doe No. 11              D
    8        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.3
                                                                                                                                G



    2.27     Sidle Media                                                                           Jane Doe No. 12              D
    9        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.4
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 13              D
    0        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.5
                                                                                                                                G




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    2.28     Sidle Media                                                                           Jane Doe No. 14              D
    1        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.6
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 15              D
    2        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.7
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 16              D
    3        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.8
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 17              D
    4        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.9
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 18              D
    5        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.10
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 19              D
    6        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.11
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 2               D
    7        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.12
                                                                                                                                G



    2.28     Sidle Media                                                                           Jane Doe No. 20              D
    8        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.13
                                                                                                                                G




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    2.28     Sidle Media                                                                           Jane Doe No. 21              D
    9        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.14
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 22              D
    0        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.15
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 23              D
    1        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.16
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 3               D
    2        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.17
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 4               D
    3        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.18
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 5               D
    4        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.19
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 6               D
    5        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.20
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 7               D
    6        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.21
                                                                                                                                G




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    2.29     Sidle Media                                                                           Jane Doe No. 8               D
    7        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.22
                                                                                                                                G



    2.29     Sidle Media                                                                           Jane Doe No. 9               D
    8        Limited                           Co-Defendant (Defaulted)                                                          E/F       3.23
                                                                                                                                G




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 Fill in this information to identify the case:

 Debtor name         DOMI PUBLICATIONS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         20-10250-btb
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                 $78,682.34
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                              $2,006,967.62
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                              $2,172,644.95
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       DOMI PUBLICATIONS, LLC                                                                    Case number (if known) 20-10250-btb



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               American Express                                            See attached                    $131,568.81          Secured debt
               Attn: Bankruptcy Dept. / Managing                           schedule                                             Unsecured loan repayments
               Agent                                                                                                            Suppliers or vendors
               PO Box 0001
               Los Angeles, CA 90096-8000                                                                                       Services
                                                                                                                                Other

       3.2.
               George Rikos Law                                            See attached                     $70,334.79          Secured debt
               Attn: George Rikos, Esq.                                    schedule                                             Unsecured loan repayments
               225 Broadway, Ste 2100                                                                                           Suppliers or vendors
               San Diego, CA 92101-5014
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Internal Revenue Service                                    12/19/19                         $21,000.00          Secured debt
               Attn: Bankruptcy Dept/Managing Agent                                                                             Unsecured loan repayments
               P.O. Box 7346                                                                                                    Suppliers or vendors
               Philadelphia, PA 19101                                                                                           Services
                                                                                                                                Other   Taxes

       3.4.
               Duane Morris LLP                                            11/12/19                           $7,500.00         Secured debt
               Attn: Michael L. Lipman                                                                                          Unsecured loan repayments
               750 B. Street, Suite 2900                                                                                        Suppliers or vendors
               San Diego, CA 92101-4681
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               CC Bill, LLC                                                11/13/19                         $26,069.24          Secured debt
               Attn: Managing Agent/Bankruptcy                             (Reversal)                                           Unsecured loan repayments
               Dep't                                                                                                            Suppliers or vendors
               2353 W. University Ave.
               Tempe, AZ 85281
                                                                                                                                Services
                                                                                                                                Other

       3.6.
               Free Spirit Partners, LLC                                   11/18/19 for                       $7,500.00         Secured debt
               Attn: Doug Wiederhold, Managing                             $2,000.00;                                           Unsecured loan repayments
               Member                                                      12/17/19 for                                         Suppliers or vendors
               10620 So. Highlannds Pkwy., #110-334                        $5,500.00
               Las Vegas, NV 89141                                                                                              Services
                                                                                                                                Other

       3.7.
               Black & Cherry Real Estate Group                            11/4/19 for                      $17,385.00          Secured debt
               2421 W. Horizon Ridge Parkway, Suite                        $5,795.00;                                           Unsecured loan repayments
               110                                                         12/2/19 for                                          Suppliers or vendors
               Henderson, NV 89052                                         $5,795.00;                                           Services
                                                                           and 1/2/20
                                                                           for $5,795.00                                        Other   Rent

       3.8.
               Law Offices of Clyde DeWitt, PC                             12/2/19                            $7,081.69         Secured debt
               Attn: Clyde DeWitt, Esq.                                                                                         Unsecured loan repayments
               P.O. Box 26185                                                                                                   Suppliers or vendors
               Las Vegas, NV 89126-0185
                                                                                                                                Services
                                                                                                                                Other



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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Michael J. Pratt                                            See attached                    $358,000.00           See attached schedule
               969 Market St. # 1006                                       schedule
               San Diego, CA 92101
               Former Manager and Member

       4.2.    Douglas J. Weiderhold                                       See attached                    $843,027.02           See attached schedule
               10620 So. Highlands Pkwy, # 110-334                         schedule
               Las Vegas, NV 89141
               Manager and Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address




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 Debtor       DOMI PUBLICATIONS, LLC                                                                    Case number (if known) 20-10250-btb



               Case title                                        Nature of case            Court or agency's name and             Status of case
               Case number                                                                 address
       7.1.    JANE DOE NOS. 1-22 v.                             Consolidated with         Superior Ct. of California,               Pending
               GIRLSDOPORN.COM,                                  Case No.:                 San Diego                               On appeal
               MICHAEL J. PRATT, ANDRE                           37-2017-00033321-         330 W. Broadway
                                                                                                                                   Concluded
               GARCIA; MATTHEW WOLFE;                            CU-FR-CTL, and            San Diego, CA 92101
               BLL MEDIA, INC.; BLL MEDIA                        37-2017-00043712-
               HOLDINGS, LLC; DOMI                               CU-FR-CTL.
               PUBLICATIONS, LLC; EG                             Claims for
               PUBLICATIONS, INC.; M1M                           misappropriation
               MEDIA, LLC; BUBBLEGUM                             of name and
               FILMS, INC.; OH WELL MEDIA                        likeness,
               LIMITED; MERRO MEDIA,                             intentional
               INC.; MERRO MEDIA                                 infliction of
               HOLDINGS, LLC; and ROES                           emotion distress,
               1-550                                             breach of
               37-2016-00019027-CU-FR-CTL                        contract, unlawful
               (Lead Case)                                       and fraudulent
                                                                 business
                                                                 practices,
                                                                 fraudulent
                                                                 transfer,
                                                                 declaratory relief,
                                                                 et al.

       7.2.    JANE DOE NO. 23 v. v.                             Filed on                  Superior Ct. of California,               Pending
               GIRLSDOPORN.COM,                                  December 30,              San Diego                               On appeal
               MICHAEL J. PRATT, RUBEN                           2019. Claims for          330 W. Broadway
                                                                                                                                   Concluded
               "ANDRE" GARCIA;                                   misappropriation          San Diego, CA 92101
               MATTHEW WOLFE; BLL                                of name and
               MEDIA, INC.; BLL MEDIA                            likeness,
               HOLDINGS, LLC; DOMI                               intentional
               PUBLICATIONS, LLC; EG                             infliction of
               PUBLICATIONS, INC.; M1M                           emotion distress,
               MEDIA, LLC; BUBBLEGUM                             breach of
               FILMS, INC.; OH WELL MEDIA                        contract, unlawful
               LIMITED; MERRO MEDIA,                             and fraudulent
               INC.; CLOCKWORK                                   business
               PRODUCTIONS, INC.; UHD                            practices,
               PRODUCTIONS, LLC;                                 fraudulent
               BUBBLEGUM FILS, LTD.;                             transfer,
               GREENHILL SERVIES, LTD.;                          declaratory relief,
               SIDLE MEDIA LIMITED; and                          et al.
               JANE DOES 1-100
               37-2019-00070147-CU-NP-CTL

       7.3.    JANE DOE NOS. 1-22 v.                             Out of state              Third District Court, Salt              Pending
               GIRLSDOPORN.COM, et al.                           subpoena and              Lake County                             On appeal
               190900023 and 190400003                           discovery in aid of       450 State St.                             Concluded
                                                                 California action,        Salt Lake City, UT 84111
                                                                 dated 1/3/19




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 Debtor       DOMI PUBLICATIONS, LLC                                                                    Case number (if known) 20-10250-btb



               Case title                                        Nature of case            Court or agency's name and             Status of case
               Case number                                                                 address
       7.4.    JANE DOE NOS.1-14 v.                              Notice of Removal         United States District Court            Pending
               GIRLSDOPORN, ET AL. (In re                        filed by Michael J.       for the Southern District of            On appeal
               Michael J. Pratt)                                 Pratt on 1/24/19,         California                                 Concluded
               Case No.                                          by order dated            333 West Broadway
               3:19-cv-00160-WQH-BLM                             2/15/19 this case         San Diego, CA 92101
                                                                 was referred to
                                                                 the United States
                                                                 Bankruptcy Court
                                                                 for the Southern
                                                                 District of
                                                                 California

       7.5.    Jane Does Nos. 15-22 v. Domi                      Appeal                    California 4th District Ct. of          Pending
               Publicationss, LLC                                                          Appeal                                     On appeal
               D074514                                                                     Division 1
                                                                                                                                   Concluded
                                                                                           Attn: Justice McConnell
                                                                                           750 B Street, Suite 300
                                                                                           San Diego, CA 92101


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None
       Custodian's name and Address                              Describe the property                                                 Value
       Fraud Law Group, PLC                                      No known property of debtor in receiver's
       Faith A. Devine, as Receiver                              possession, but (conditional) order appointing
       5857 Owens Avenue, Suite 300                              receiver entered on January 9, 2020, but fully
       Carlsbad, CA 92008                                        subject to further hearing to be held on January 30,
                                                                 2020.                                                                                  Unknown

                                                                 Case title                                                            Court name and address
                                                                 Jane Does 1-22 v. GIRLSDOPORN.COM, et al                              Superior Court of
                                                                 Case number                                                           California, San Diego
                                                                 37-2016-00019027-CU-FR-CTL (Lead)                                     Attn: Hon. Joel R.
                                                                 Date of order or assignment                                           Wohlfeil
                                                                 January 9, 2020                                                       330 W. Broadway
                                                                                                                                       San Diego, CA 92101

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                           Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Larson Zirzow Kaplan &
                Cottner
                Attn: Matthew C. Zirzow, Esq.
                850 E. Bonnville Ave.
                Las Vegas, NV 89101                                                                                            1/10/20                   $7,500.00

                Email or website address
                mzirzow@lzkclaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers            Total amount or
                                                                                                                        were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                   Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange              was made                          value
       13.1                                                      Payments pursuant to Buyout
       .    Michael J. Pratt                                     Agreement, whch were tendered to
               969 Market St., #1006                             Panakos Law and detailed in repsonse to                  See attached
               San Diego, CA 92101                               questions 4 and 30.                                      schedule                     $84,000.00

               Relationship to debtor
               Former Manager and Member


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


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       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                         Names of anyone with               Description of the contents            Do you still
                                                                       access to it                                                              have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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       None
       Facility name and address                                       Names of anyone with               Description of the contents                   Do you still
                                                                       access to it                                                                     have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                      Court or agency name and           Nature of the case                            Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Myers & Ohira                                                                                                        2018-Present
                    3333 East Serene Ave., Suite 200
                    Henderson, NV 89740
       26a.2.       YJE & Company, Inc.                                                                                                  2016-2018
                    1820 E. Warm Springs Rd., Suite 100
                    Las Vegas, NV 89119

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Douglas J. Weiderhold                          10620 So. Highlands Pkwy, # 110-334                 Manager and Member                    100
                                                      Las Vegas, NV 89141



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.




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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Michael J. Pratt                               969 Market Street #1006                             Former 50% Member                Inception on or
                                                      San Diego, CA 92101                                 and Former Co-Manager            about 5/11/15
                                                                                                                                           through
                                                                                                                                           resignation on
                                                                                                                                           8/18/2019;
                                                                                                                                           Membership
                                                                                                                                           Interest Buyout
                                                                                                                                           Agreement and
                                                                                                                                           Assignment of
                                                                                                                                           Membership
                                                                                                                                           Interest executed
                                                                                                                                           on 8/18/19 and
                                                                                                                                           9/12/19,
                                                                                                                                           respectively

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Douglas Weiderhold                                                                                                             Employment,
       .    10620 So. Highlands Pkwy, #                                                                                                    including salary
               110-334                                                                                                   See attached      and fringe
               Las Vegas, NV 89141                               See attached schedule                                   schedule          benefits.

               Relationship to debtor
               Manager and Member


       30.2                                                                                                                                Employment,
       .                                                                                                                                   including salary
                                                                                                                                           and benefits, as
                                                                                                                                           well as payments
               Michael J. Pratt                                                                                                            pursuant to
               969 Market St., #1006                                                                                     See attached      Buyout
               San Diego, CA 09210-1000                          See attached schedule                                   schedule          Agreement.

               Relationship to debtor
               Former Manager and Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation


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                                     Parties added 2/5/2020

AMERICAN EXPRESS                    CITIBANK CBO SERVICES              WELLS FARGO BANK, N.A.
ATTN: BANKRUPTCY DEPT.              ATTN: BANKRUPTCY DEPT.             ATTN: BANKRUPTCY DEPT.
P.O. BOX 0001                       P.O. BOX 6201                      P.O. BOX 6995
LOS ANGELES, CA 90096-8000          SIOUX FALLS, SD 57117-6201         PORTLAND, OR 97228-6995


                                    EPOCH.COM, LLC
CCBILL, LLC
                                    DBA EPOCH PAYMENTS SOLUTIONS       MARGO J. TURNER-DEAN
ATTN: BK DEPT/MANAGING AGENT
                                    ATTN: BK DEPT/MANAGING AGENT       10620 SO. HIGHLANDS PKWY., #110-334
2353 WEST UNIVERSITY DRIVE
                                    3110 MAIN STREET, STE. 220         LAS VEGAS, NV 89141
TEMPE, AZ 85281-7223
                                    SANTA MONICA, CA 90405


                                    RYAN SOMAVIA
PARKER C. HELLMAN                                                      RYAN SOMAVIA
                                    C/O NEVADA DETR
7556 GRIST MILL CT.                                                    10620 SO. HIGHLANDS PKWY., #110-278
                                    500 E. THIRD ST.
LAS VEGAS, NV 89113                                                    LAS VEGAS, NV 89141-1000
                                    CARSON CITY, NV 89713-0035



                                    TAMELA SEEHASE                     WALTERS LAW GROUP
TAMELA R. SEEHASE
                                    C/O NEVADA DETR                    ATTN: LAWRENCE G. WALTERS, ESQ.
8301 W. CHARLESTON BLVD.
                                    500 E. THIRD ST.                   195 W. PINE AVENUE
LAS VEGAS, NV 89117
                                    CARSON CITY, NV 89713-0035         LONGWOOD, FL 32750-4104




WEBAIR INTERNET DEVELOP., INC.
501 FRANKLIN AVE., SUITE 200
GARDEN CITY, NY 11530
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         SCHEDULE B ATTACHMENT
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Domi Publications, LLC - Attachment to Schedule B (Personal Property)

Item Description                                                   Est. Value

Office Furniture
IKEA Furniture                                                             $200
Office Table (New Life Furniture)                                          $400
Office Chairs (RC Willey)                                                  $200
Dry Erase Board (New Life Furniture)                                       $100
Penthouse Furniture Couch and Chair                                        $900
Living Penthouse Chair                                                      $80
Total                                                                    $1,880

Equipment
Apple Ipad                                                                 $200
Apple MacBook Computer                                                   $1,200
Photocore Processor                                                          $0
SLR Camera 77D Canon                                                       $350
24-70mm F2.8L EF II                                                        $450
70-200mm F2.8L IS EF                                                       $550
AV Mixer Roland V-1HD                                                      $600
Asus Laptop Computer                                                       $200
Camera Lighting                                                            $275
Computer                                                                   $100
Diva-Lite LED 20 DMX kit                                                 $2,000
EOS C200 EF Camera                                                       $1,500
Camera Equipment Various items                                           $3,500
Computer Equipment                                                         $500
Total                                                                   $11,425
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STATEMENT OF FINANCIAL AFFAIRS ATTACHMENT
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Domi Publications, LLC - Attachment to Statement of Financial Affairs

Payments to American Express (90 Days Prepetition)
11/1/2019                $15,000.00
10/21/2019               $13,710.87
10/21/2019               $10,000.00
11/8/2019                $7,000.00
11/12/2019               $7,250.09
11/12/2019               $2,000.00
11/12/2019               $10,000.00
11/15/2019               $2,613.19
11/18/2019               $600.00
12/9/2019                $16,732.92
1/6/2020                 $28,887.77
1/13/2020                $17,773.97
Total                    $131,568.81

Payments to George Rikos Law (90 Days Prepetition)
10/25/2019                $5,000.00
11/4/2019                 $5,000.00
11/8/2019                 $5,000.00
11/15/2019                $5,000.00
11/22/2019                $7,500.00
12/3/2019                 $10,000.00
12/13/2019                $5,000.00
12/20/2019                $7,500.00
1/3/2020                  $5,000.00
1/10/2020                 $5,982.86
1/13/2020                 $9,351.93
Total                     $70,334.79

Payments to Paychex - Gross Payroll (90 Days Prepetition)
10/18/2019                $61.70                    Fees
10/18/2019                $1,393.35                 Fees
10/21/2019                $2,389.50                 Taxes
10/24/2019                $7,420.97                 Payroll
10/25/2019                $61.70                    Fees
10/25/2019                $2,830.73                 Taxes
10/25/2019                $61.70                    Fees
10/31/2019                $7,420.97                 Payroll
11/1/2019                 $61.70                    Fees
11/1/2019                 $2,830.73                 Taxes
11/7/2019                 $7,420.97                 Payroll
11/8/2019                 $61.70                    Fees
11/9/2019                 $2,830.73                 Taxes
11/14/2019                $7,420.97                 Payroll
11/15/2019                $61.70                    Fees
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11/15/2019                  $2,830.73               Taxes
11/18/2019                  $7,420.97               Payroll
11/22/2019                  $6,794.47               Payroll
11/25/2019                  $2,442.73               Taxes
11/26/2019                  $141.70                 Fees
11/27/2019                  $6,124.92               Payroll
11/29/2019                  $61.70                  Fees
11/29/2019                  $2,097.78               Taxes
12/5/2019                   $6,124.92               Payroll
12/6/2019                   $61.70                  Fees
12/6/2019                   $2,096.58               Taxes
12/12/2019                  $6,124.92               Payroll
12/13/2019                  $61.70                  Fees
12/19/2019                  $6,124.92               Payroll
12/20/2019                  $61.70                  Taxes
12/20/119                   $2,092.98               Taxes
12/26/2019                  $6,124.92               Payroll
12/27/2019                  $61.70                  Fees
12/27/2019                  $2,092.98               Taxes
1/2/2020                    $5,973.11               Payroll
1/3/2020                    $2,540.59               Taxes
1/3/2020                    $61.70                  Fees
1/9/2020                    $7,742.51               Payroll
1/10/2020                   $4,033.69               Taxes
1/110/20                    $209.20                 Fees
Total                       $121,833.94

Michael J. Pratt (1 Year)
7/16/2019                   $10,000.00              Wells Fargo - Online Transfer
Weekly through mid-2019     $264,000.00             2019 Gross Salary per W2
8/22/2019                   $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
8/30/2019                   $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
9/6/2019                    $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
9/11/2019                   $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
9/18/2019                   $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
9/25/2029                   $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
10/2/2019                   $8,000.00               Buyout Payment per Agt - Sent to Panakos Law
10/2/2019                   $28,000.00              Buyout Payment per Agt - Sent to Panakos Law
Total                       $358,000.00

Douglas J. Wiederhold (1 Year)
9/11/2019                  $2,200.00                Free Spirit Partners, LLC
11/18/2019                 $2,000.00                Free Spirit Partners, LLC
12/17/2019                 $5,500.00                Free Spirit Partners, LLC
Subtotal                   $9,700.00

2/4/2019                    $5,795.00               Black & Cherry Real Estate*
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3/4/2019                    $5,795.00                Black & Cherry Real Estate
4/2/2019                    $5,795.00                Black & Cherry Real Estate
5/2/2019                    $5,795.00                Black & Cherry Real Estate
6/4/2019                    $5,795.00                Black & Cherry Real Estate
7/2/2019                    $5,795.00                Black & Cherry Real Estate
8/2/2019                    $5,795.00                Black & Cherry Real Estate
9/3/2019                    $5,795.00                Black & Cherry Real Estate
10/2/2019                   $5,795.00                Black & Cherry Real Estate
11/4/2019                   $5,795.00                Black & Cherry Real Estate
12/2/2019                   $5,795.00                Black & Cherry Real Estate
11/2/2020                   $5,795.00                Black & Cherry Real Estate
Subtotal                    $69,540.00
*Lease for commercial loft space used by Debtor as an office and production studio. Lease is only in Mr.
Wiederhold's personal name because the landlord required an individual person to sign instead of an
artificial entity.

1/4/2019                   $1,556.00                 Progressive Insurance
6/19/2019                  $1,731.00                 Progressive Insurance
1/3/2020                   $1,773.00                 Progressive Insurance
Subtotal                   $5,060.00

1/31/2019                  $20,000.00                American Express*
2/12/2019                  $19,899.00                American Express
2/19/2019                  $10,000.00                American Express
3/6/2019                   $10,000.00                American Express
3/8/2019                   $14,904.42                American Express
3/18/2019                  $16,140.00                American Express
3/19/2019                  $6,900.00                 American Express
4/1/2019                   $12,671.56                American Express
4/12/2019                  $10,000.00                American Express
4/22/2019                  $10,000.00                American Express
5/8/2019                   $17,554.37                American Express
5/20/2019                  $15,112.32                American Express
5/24/2019                  $14,984.22                American Express
5/30/2019                  $2,885.19                 American Express
6/5/2019                   $6,822.57                 American Express
6/19/2019                  $1,973.50                 American Express
7/19/2019                  $5,065.33                 American Express
7/29/2019                  $13,500.00                American Express
8/9/2019                   $13,601.19                American Express
9/6/2019                   $22,661.60                American Express
10/21/2019                 $13,710.87                American Express
10/21/2019                 $10,000.00                American Express
11/1/2019                  $15,000.00                American Express
11/8/2019                  $7,000.00                 American Express
11/12/2019                 $7,250.09                 American Express
11/12/2019                 $2,000.00                 American Express
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11/12/2019                    $10,000.00            American Express
11/15/2019                    $2,613.19             American Express
11/18/2019                    $600.00               American Express
12/9/2019                     $16,732.92            American Express
1/6/2020                      $28,887.77            American Express
1/13/2020                     $17,773.97            American Express
Subtotal                      $376,244.08
*Mr. Wiederhold was a co-obligor for the Debtor's business card only because the credit card company
required it in order to issue it.

1/28/2019                  $1,364.95                TDAuto Finance
2/28/2019                  $1,364.95                TDAuto Finance
3/28/2019                  $1,364.95                TDAuto Finance
4/29/2019                  $1,364.95                TDAuto Finance
5/28/2019                  $1,364.95                TDAuto Finance
6/28/2019                  $1,364.95                TDAuto Finance
Subtotal                   $8,189.70

6/16/2019                  $1,573.31                GM Finance
7/16/2019                  $1,573.31                GM Finance
8/16/2019                  $1,573.31                GM Finance
9/16/2019                  $1,573.31                GM Finance
10/16/2001                 $1,573.31                GM Finance
11/18/119                  $1,573.31                GM Finance
12/16/2019                 $1,573.31                GM Finance
Subtotal                   $6,293.24

Approx. Weekly in 2019     $359,000.00              2019 Gross Salary per W2
1/3/2020                   $9,000.00                2020 Gross Salary (1/1/20 to1/16/20)
Subtotal                   $368,000.00

Combined Total             $843,027.02
